                           Fee/Cost Reduction Agreement

TBJS AGREEMENT, made and entered into this 24 th day of May, 2012, by and between the
underSigned, hereinafter called "Clients", and RAYMOND C. GNENS, Attorney nt Law of the
Givens Lo.w Finn hereinafter called "Attorney."

Whereas, Clients and attorney entered into a Contingency Fee Contract to pursue Oengas'
claims in 2003 and amended that Contract in 2011, by which Clients retained Attorney to
represent their intere.~t.s regarding the lease oftlu:ir Nt1tivc Allotment F-14632, and agreed to pay
for Atlomcy's servic,;:s by way of J) a 30% -40% sliding scale contingent fee on the Gross
Recovery. later reduced to a 35% fee on the Gross Recovery, which was a slight reduction in
fee.5, 2) initially a 30¾ foe on increases in fitturc rents through 2038, later reduced to a 25% fee
on all future rents, which was II slight reduction in fees, and 3) reimbursement of all cost~
advanced, and

Whereas, us t1. result of Attorney's efforts, Clients issues were being addressed in several forums
at different stages of litigation or administrative consideration when a settlement of all claims
was ngrecd to, und

Wbereos, as e. result of Attorney's efforts, Clients have been eble to recover 1) a $13.5 million
Lump Sum Settlement, Wld 2) a lnrgc increa~e in l'utur<: rents to be paid on an annual basis for up
Lo 50 years, starting et$650,000/yr and increasing onnually on a CPI-bosed cost oflivi.ng
adjustment, ~nd

Whereas, the contingent fee formula under the Contingent Fee Agreement, as Amended
provided that the contingent fee we.s to be calculated on the Gross Recovery, with the costs
advanced being reimbursed from the client's net recovery after payment of the contingent fee
[Fee First Approach], and

Whereas, the Fee.First Approach has been questioned by the Bureau of Indian Alfa.in,,
llUAAesting that Uie costs should be reimbursed before the fee is paid [Cost First Approach],
which is more advantageous to Clients, and

Whereas, Attorney has sought, received and provided to Clients a written legal analysis from an
ex.pert in the field affirming that the rec first Approach is appropriate, and

Whereas, even though the Fee Firsl Approach is appropriate, Attorney and Clients have agreed
to distribute the S 13.S million Lump Sum Settlement pursuant to the Cost First Approach with
reimbursement of$444,463 costs and $4,569,437 being nll Clients' 35% fee on the lump sum
settlement, to be allocated among individual clients based on their percent interest in Native
Allotment F-14632, !I.Ild

Whereas, this fee distribution agreement docs not nffocl the payment due Attorney from some
individual Clients of fees 1111d costs currently due on rent increases obtained in prior years which
were _greviously deferred, and




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                                                                                                      Exhibit J
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Whereas, 1his fee distribution agreement does not affect the 25% contingent fee due Attorney
from Clients on/urure rents due on Native Allotment F-14632 through 2038 under lhe
Contingency Fee Contract ns wnended, with it being appropriate lo reaffirm that the 25%
contingency fee is due on future rents through 2038 as provided for in the Coutingency Fee
Contract, as wnended.

NOW, THEREFORE, it is mutually agreed and understood thnt, despite the provisions of the
Contingency Fee Contract as amended to the contrary, the reimhursement of costs and payment
of the contingent attorney fee due on the $13,500,000 Lump Sum Settlement will be as follows:

       Gross Lump Sum SeHlement                     $13,500,000
               Less Costs Reimbursed                    444,463
              Less Contingency Attorney Fee         - 4,569,437
       Clients' Share of Settlement                 $   M86,JOQ
FURTHER, it is mutually agreed and understood thal the conl!ngency fee due on future rents,
which was ~pecifically provided for ill both the original Contingency Fee Contract and the first
Amendment thereof, remuins due each year as a 25% fee oftbe total rent received each year due
IL~ compensation for the attorney's work in securing the increased rent Amowit.


       DATED AND SlGNED this 2411 ' day ofMuy, 20L2.

GIVENSL~W

       By:.             /7~,.,,~
       RA0NDC.GNENS
       Attorney at Law

CLIENTS:                   ~
        ~                       .   ~
       Georgene Shugluk


         Ltktel-lft DA'.v~
       Wallace Oenga, Personal Rep; ~tive
       For the Estate of Leroy Oengn., Sr.


     ~3/~ /
       ~'-----
      Trinity Delia, a minor




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                                                                                              Exhibit J
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